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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO



WESTERN WATERSHEDS PROJECT,                            No. 1:17-cv-197-BLW

                     Plaintiff,
                     Plaintiffs,                       ORDER

                v.

USDA APHIS WILDLIFE SERVICES,

                     Defendant.




       Finding good cause therefore,

       NOW THEREFORE IT IS HEREBY ORDERED, that the motion to stay (docket no. 16)

is GRANTED, and all briefing in this matter shall be STAYED until February 16, 2018, with the

briefing schedule to be reset as necessary after that date.

       IT IS FURTHER ORDERED, that the hearing now set for November 1, 2017, is

VACATED.



                                                       DATED: September 25, 2017


                                                       _________________________
                                                       B. Lynn Winmill
                                                       Chief Judge
                                                       United States District Court
